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             EXHIBIT A
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          Certificate of Completion
                       Metropolitan Detention Center, Brooklyn
                                Brooklyn, New York

                                 This certifies that:

                       Freedom Tu~ne~
                          Reg. No. 49978-509


            has satisfactorily completed
  Turning Points: Basic Cognitive Skills Module
       and is hereby awarded this certificate, this 22"d day of June, 202?



                                         Dr. L
                                  Staff Psychologist
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